Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 1 of 27



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater    §
Horizon” in the Gulf of Mexico on April 20,   §   MDL No. 2179
2010.                                         §   SECTION “J”
                                              §
                                              §   JUDGE BARBIER
This Document Relates to:                     §
                                              §   MAGISTRATE SHUSHAN
10-4239                                       §
10-4240                                       §
10-4241                                       §


  MEXICAN STATES’ RESPONSE AND OPPOSITION TO DEFENDANT’S
 CAMERON INTERNATIONAL CORPORATION MOTION FOR SUMMARY
                        JUDGMENT
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 2 of 27



                                  TABLE OF CASES

Cases                                                                    Page no.

Robins Dry Dock & Repair Co. v. Flint, 275 U.S. 303 (1972)                     6

Showa Line, Ltd. v. Diversified Fuels, Inc.,
1991 U.S. Dist. LEXIS 14662 (E.D. La. 1991)                                    6

Vicksburg Towing Co. v. Mississippi Marine Trans. Co.,
609 F. 2d 176, 177 (5th Cir. 1980)                                             6

Dick Meyers Towing Service, Inc. v. United States,
577 F.2d 1023 (5th Cir. 1978), cert. denied, 440 U.S. 908 (1979)               6

Louisville and Nashville R.R. Co. v. M/V Bayou Lacombe,
597 F. 2d 469 (5th Cir. 1979)                                                  6

Nexen v Petroleum U.S.A., Inc. v. Sea Mar Div. of Pool Well Serv. Co.,
497 F. Supp. 2d 787, 791 (E.D. La. 2007)                                       7

Dunham-Price Group, L.L.C. v. Port Aggregates, Inc.,
2006 U.S. Dist. LEXIS 55285 (W.D. La. 2006)                                    7

MTA Metro-North R.R. v. Buchanan Marine, L.P.,
2006 U.S. Dist. LEXIS 89617 (D. Conn. 2006)                                    7

CXY Energy, Inc. v. Jurisch,
1992 U.S. Dist. LEXIS 12863 (E.D. La. 1992)                                    7

New Orleans Steamboat Co. v. M/V James E. Wright,
1990 U.S. Dist. LEXIS 1147 (E.D. La. Aug. 23, 1990)                            7

Holt Hauling & Warehousing v. M/V Ming Joy,
614 F. Supp. 890 (D.C. Pa. 1985)                                               7

In re Waterstand Marine, Ltd., 1988 U.S. Dist. LEXIS 3242 (E.D. Pa. 1988)      8

Texas Eastern Transp. Corp. v. McMoran Offshore Exploration Co.,
877 F. 2d 1214 (5th Cir. 1989)                                                 8

McLean Contracting Co. v. Waterman Steamship Corp.,
131 F. Supp. 2d 817 (E.D. Va. 2001)                                            9




	                                                                                  2	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 3 of 27



In re Moran Enterprises Corp.,
77 F. Supp.2d 334, 341 (E.D. N.Y. 1999)                                     21

Domar Ocean Trans., Ltd. v. M/V Andrew Martin,                              23
754 F. 2d. 616 (5th Cir. 1985)

In re TT Boat Corp., 1999 U.S. Dist. LEXIS 13797 (E.D. La. Sept. 3, 1999)   23

Nicor Supply Ships Assoc. v. General Motors Corp.,
876 F.2d 501 (5th Cir. 1989)                                                23

SEKCO Energy, Inc. v. M/V Margaret Chouest,
820 F. Supp.1008, 1012 (E.D. La. 1993)                                      25

Garbick v. Larin (Am.) Maritime,
623 F. Supp. 2d 741, 748 (E.D. La. 2009)                                    27

National Shipping Co. of Saudi Arabia v. Moran Mid-Atlantic Corp.,          27
924 F. Supp. 1436, 1447 (E.D. Va. 1996)

U.S. v. Locke, 529 U.S. 89, 120 (U.S. 2000)                                 27

Tanguis v. M/V Westchester, 153 F. Supp. 2d 859 (E.D. La. 2001)             27

Isla Corp. v. Sundown Energy, LP,                                           27
2007 U.S. Dist. LEXIS 31259 (E.D. La. 2007)

Williams v. Potomac Elec. Power Co.,
115 F. Supp. 2d 561 (D. Md. 2000)                                           28

The St. Joe Co. v. Transocean Offshore Deepwater Drilling, Inc.,
2011 U.S. Dist. LEXIS 26391 (D. Del. 2011)                                  28

Secondary Sources

Black’s Law Dictionary, 960 (6th ed.1990).                                  9

Webster’s New Collegiate Dictionary, p. 400 (1979)                          9




	                                                                               3	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 4 of 27



        MEXICAN STATES’ RESPONSE AND OPPOSITION TO DEFENDANT’S
       CAMERON INTERNATIONAL CORPORATION MOTION FOR SUMMARY
                              JUDGMENT


          COME NOW Plaintiffs, the Mexican States of Quintana Roo, Tamaulipas, and

Veracruz (hereinafter “the Mexican States”) pursuant to Rule 56 of the Federal Rules of

Civil Procedure, and respectfully file this Brief in Opposition to Defendant Cameron

International Corporation’s Motion for Summary Judgment and respectfully shows the

Court as follows:

	  
          Plaintiffs respectfully submit that Defendant Motions should be denied. Plaintiffs

incorporate herein by reference, verbatim, their Statement of Undisputed Facts In Support

of The Mexican States Of Quintana Roo’s, Tamaulipas’, And Veracruz’, Motion For

Summary Judgment Regarding The Issue Of Proprietary Interests In The Matters

Asserted In Their Complaints (hereinafter “Statement of Undisputed Facts”) and Exhibits

A through M submitted as part of Plaintiffs’ Motion for Summary Judgment. Plaintiffs

further rely on the attached Exhibits N through Z. Plaintiffs respectfully submit that

Defendant Motions for Summary Judgment should be denied since Defendant are not

entitled to judgment as a matter of law. Furthermore, the undisputed facts submitted by

Plaintiffs demonstrate that they do have proprietary interests herein. Alternatively,

Plaintiffs submit that if the Court should find to the contrary with respect to the

evidentiary record herein, there exist genuine issues of material facts regarding the

Plaintiffs’ ownership, management, control, possession, obligations to repair and

maintain, governance, and other exertions of authority over their coastlines, waters,




	                                                                                        4	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 5 of 27



islands, wildlife, and other matters herein such as would render summary judgment

against them improper.

1.      PRELIMINARY

        The affidavit of one of Plaintiffs’ experts Dr. Sergio Jimenez (attached hereto as

Ex. U) establishes that the Macondo oil reached the coastlines of Plaintiff States. (Id.).

II.     ROBINS DRY DOCK DOES NOT APPLY BECAUSE OF BP’S AND
        TRANSOCEAN’S ADMISSIONS OF CRIMINAL CONDUCT.

        BP and Transocean have admitted that they engaged in criminal actions or

omissions in violation of federal law. BP Exploration and Production, Inc. (guaranteed by

BP PLC, and BP Corporation North America, Inc.) has tentatively admitted to criminal

actions (some of which resulted in the deaths of eleven persons) and others involving

“corrupt” practices. (Ex. F; Order of Dec. 11, 2012 [Doc. 25]; U.S. v. BP Exploration and

Production, Inc., Case 2:12-CR-00292 (E.D. La.). Nevertheless, BP Exploration and

Production, Inc. (“BP”) agreed in writing to plea guilty to criminal charges in connection

with BP’s conduct relating to the Deepwater Horizon blowout, explosion, oil spill and

response. (Ex. F and its Ex. A-D). Of course, the plea encompassed only a few of the

many other criminal allegations in the federal indictment.

        BP’s admissions of criminal violations of 18 U.S.C. §1505 include actions by

which “BP did corruptly, that is, with an improper purpose, endeavor to influence,

obstruct, and impede” an inquiry and investigation into the amount of oil flowing from

the Macondo well through “omissions and false and misleading statements.”

(Subparagraphs 1-6 of Ex. A to Ex. F (emphasis added). Therefore, it is undisputed that

BP has admitted engaging in criminal actions that led to the deaths of eleven persons,

“corrupt” actions and omissions that included false and misleading statements, and other



	                                                                                           5	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 6 of 27



unlawful conduct. Furthermore, Defendant Transocean Deepwater, Inc. and Transocean

Ltd executed a Cooperation Guilty Plea Agreement whereby Transocean Deepwater, Inc.

regarding federal criminal violations of the Clean Water Act, 33 U.S.C. §§ 1319 (c) (1)

(A) and 1321 (b)(3). (Ex. Z).

        The Supreme Court’s articulation of its principle demonstrates its inapplicability

to criminal conduct such as that of BP and Transocean: “[T]here can be no recovery for

economic losses caused by an unintentional maritime tort absent physical damage to

property in which the victim has a proprietary interest.”(emphasis added). Robins Dry

Dock & Repair Co. v. Flint, 275 U.S. 303 (1972); Showa Line, Ltd. v. Diversified Fuels,

Inc., 1991 U.S. Dist. LEXIS 14662 *2 (E.D. La. 1991). The rule of Robins was

formulated in the context of a civil negligence claim, i.e., “unintentional” conduct—not

criminal actions and omissions such as those herein. See, Id.; See Vicksburg Towing Co.

v. Mississippi Marine Trans. Co., 609 F. 2d 176, 177 (5th Cir. 1980)(employees

negligently damaged the vessel”); Dick Meyers Towing Service, Inc. v. United States, 577

F.2d 1023 (5th Cir. 1978), cert. denied, 440 U.S. 908 (1979)(Defendants negligence);

Louisville and Nashville R.R. Co. v. M/V Bayou Lacombe, 597 F. 2d 469 (5th Cir.

1979)(negligence). Where the plaintiff asserts an intentional misconduct, the plaintiff’s

claim is taken “out of the Robins Dry Dock parameters.” 577 F.2d at 1025; Nexen v

Petroleum U.S.A., Inc. v. Sea Mar Div. of Pool Well Serv. Co., 497 F. Supp. 2d 787, 791

(E.D. La. 2007); Showa Line, Ltd. v. Diversified Fuels, Inc., 1991 U.S. Dist. LEXIS

14662 *2 (E.D. La. 1991); Dunham-Price Group, L.L.C. v. Port Aggregates, Inc., 2006

U.S. Dist. LEXIS 55285 *14 (W.D. La. 2006); MTA Metro-North R.R. v. Buchanan

Marine, L.P., 2006 U.S. Dist. LEXIS 89617 *30 (D. Conn. 2006); CXY Energy, Inc. v.




	                                                                                      6	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 7 of 27



Jurisch, 1992 U.S. Dist. LEXIS 12863 (E.D. La. 1992). BP’s and Transocean’s admitted

criminal conduct underlying its actions and omissions go well beyond the intentional torts

that take this matter outside of the Robins’ doctrine. As a matter of policy and judicial

interpretation, there is nothing in the Robins principle that is intended to shield admitted

criminals from the consequences of their admitted criminal actions. BP’s and

Transocean’s execution of the plea agreement constitute admissions of criminal conduct

and the nature of same. Therefore, the Robins’ proprietary interest prerequisite does not

apply herein. Id.

III.    THE MEXICAN STATES HAVE PROPRIETARY INTERESTS UNDER
        BOTH FEDERAL COMMON LAW AND MEXICAN LAW.

        A.     Federal Maritime Law Determines “Proprietary Interest.”

        In urging the application of Mexican law to determine the existence of proprietary

interests, Defendant ask this Court to deviate from well-established principles. Federal

common law is used to determine a party’s proprietary interest. New Orleans Steamboat

Co. v. M/V James E. Wright, 1990 U.S. Dist. LEXIS 1147 *24, 25 (E.D. La. Aug. 23,

1990)(inquiry is whether the lessor had sufficient “incidents of ownership” to render it

“proprietary” as a matter of federal maritime law.); Holt Hauling & Warehousing v. M/V

Ming Joy, 614 F. Supp. 890, 893 (D.C. Pa. 1985)(existence of proprietary interest is not

determined by state law.); In re Waterstand Marine, Ltd., 1988 U.S. Dist. LEXIS 3242

(E.D. Pa. 1988). The focus on maritime law is underscored by judicial comparisons of

plaintiffs’ asserted interests to those of a demise charterer—a creature of maritime law.

See, Robins Dry Dock & Repair Co. v. Flint, 275 U.S. at 308; Louisville & Nashville R.R.

Co. v. M/V Bayou Lacombe, 597 F.2d 469 (5th Cir. 1979); Nexen v Petroleum U.S.A.,

Inc., 497 F. Supp. 2d at 796. Since the “proprietary interest” requirement was a creation



	                                                                                        7	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 8 of 27



of maritime law, its existence should also be determined based on principles of maritime

common-law. Id. Therefore, the proper inquiry is not the rights under state law or, in this

case, under Mexican law. Id. The undisputed evidence herein establishes that the

Mexican States do have proprietary interests in the matters asserted in their complaints

under the federal maritime principles. Alternatively, the undisputed facts herein also

establish that the Mexican States also have the requisite proprietary interests under

Mexican law.

        B.     Defendant Own Experts Admit Plaintiffs Possess A Proprietary
               Interest.

        Although denying that Plaintiffs have any “proprietary interest,” Defendant

experts, in fact, confirm that Plaintiffs do possess proprietary interests, regardless of

whether Mexican or federal maritime law is used in making this determination. At a

minimum, BP’s own expert agrees, “Mexican Law allows for a system under which the

States [Plaintiffs] may be permitted to manage, control, enjoy, exploit, or use the

beaches, waters, and other natural resources …” (Burguete-Stanek Report, p. 6, Ex. 7).

The right to control, which BP admits Plaintiffs possess, is one of the factors relied upon

in determining the existence of a proprietary interest. Texas Eastern Transp. Corp. v.

McMoran Offshore Exploration Co., 877 F. 2d 1214, 1224-5 (5th Cir. 1989). Moreover,

the right to “manage” (also admitted to exist) includes not only “control,” but also other

rights of governance and possession: “To control and direct, to administer, to take charge

of. To conduct; to carry on the concerns of a business or establishment.” Black’s Law

Dictionary, 960 (6th ed.1990). Similarly, “management” is defined as “Government,

control, superintendence, physical or manual handling or guidance; act of managing by

direction or regulation, or administration, as management of . . great enterprises, or of



	                                                                                       8	  
   Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 9 of 27



great affairs.” Id. Without more, BP’s expert confirms that Plaintiffs have a proprietary

interest in that they have the rights to control, manage [implicitly including repairs and

maintenance] direction, physical or manual handling [i.e., possession], govern, direct,

administer, be in “charge of” the geographical areas. E.g., McLean Contracting Co. v.

Waterman Steamship Corp., 131 F. Supp. 2d 817, 821 (E.D. Va. 2001). Of course, if as

BP’s expert opines, the Mexican States are “in charge of” [i.e., managing] the

geographical areas, the federal government is not in charge of the areas. Additionally, as

seen below, all of Defendant experts acknowledge the states have the right to “exploit”

the natural resources and areas. “Exploit” includes profit-making activities: “To turn to

economic account; to take advantage of.” Webster’s New Collegiate Dictionary, p. 400

(1979). As defined, “exploitation” involves an “Act or process of exploiting, making use

of, or working up. Utilization by application of industry, argument, or other means of

turning to account, as the exploitation of a mine or a forest.” Id. at 579. With respect to

real property, the term “exploit” certainly includes the right to develop commercially;

construct structures such as piers, wharves, and hotels; and the right to explore, develop,

and produce mineral and other natural resources. In short, by the BP’s own admission,

the Mexican States [not the federal government] are “in charge of” managing,

controlling, regulating, governing, physically handling [possessing], and economically

developing [exploiting] the beaches, waters, coastal areas, etc. which, of course, includes

making all necessary decisions and actions to exercise those rights, including

maintenance and repairs. Without more, BP’s expert has established the Mexican States’

proprietary interests.




	                                                                                       9	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 10 of 27



       Defendant other experts further underscore Plaintiffs’ proprietary interests since

they agree that the Plaintiff States possess the following rights:

           •   “[T]he right to use, enjoy or exploit those assets.” (Halliburton’s David
               Lopez—p. 9, Ex. 11, citing Article 15 and 16 of GLNA).
           •   “[T]he right to use, enjoy and exploit the marine-land zone and land
               reclaimed from the sea.” (Halliburton’s David Lopez—p. 10, Ex. 11).
           •   General Law of National Assets “simply” grants the States the “right to
               use, enjoy or exploit those assets…” (p. 4, Burguet-Stanek Report, Ex. 7);
           •   The federal government can grant the States the “rights of use, enjoyment,
               or exploitation of National Assets through “concessions, allotment, or
               Agreement of Destination.” (Id., p. 5);
           •   Agreements of Destination carry out “a change in the user of a National
               Asset, without having to privatize the asset. They allow a “particular user
               to exploit, use, or enjoyment [sic] a specific National Asset. (Id. p. 5);
           •   Regulations allow the federal government to assign States the rights to use
               and exploit federal maritime and terrestrial zones, any land reclaimed from
               the sea, or any other body of water. (Id. p. 6);
           •   States [Plaintiffs] may be permitted to manage, control, enjoy, exploit, or
               use the beaches, waters, and other natural resources …” (Burguete-Stanek
               Report, p. 6, Ex. 7).
           •   Concession titles or agreements of destination give the right to use and/or
               exploit a national asset; (Id., p. 8);
           •   Marquez concedes that concessions by the federal government give rights
               to “enjoy” the federal maritime zone. (Par. 21, p. 6 Ex. 10).
           •   Lands reclaimed from the sea may be conveyed to the owner of the
               adjacent beachfront property after they are disincorporated from the public
               domain by Executive decree. (Par. 22, p. 6 Ex. 10).
           •   Lands reclaimed from the sea may be assigned to the use and enjoyment
               of the states without the need to disincorporate them. (Par. 22, p. 6 Ex. 10,
               citing Art. 70, GLSNA).
           •   Owners or legitimate holders of land where wildlife is distributed have
               sustainable utilization rights. . .” (Par. 25, p. 7, Ex. 10).

       Defendant experts further agree that under the concept of “concurrent”

jurisdiction, the States do have arenas in which they govern, own, maintain, and control

their coastlines and wildlife along the coastlines. Halliburton’s expert admits, “the

Mexican Constitution establishes that governmental authority in certain environmental

matters is to be shared concurrently among the federal government, states, and

municipalities….”. (emphasis added) (Ex. 11, p. 6; see also Par. 5.3, p. 11—Id., which


	                                                                                       10	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 11 of 27



repeatedly references the states’ concurrent jurisdiction as to the environment, wildlife;

Par. 5.4, p. 12. which references state concurrent jurisdiction over fishing and

aquaculture; Burquette-Stanek: Par. 4, p. 6; Marquez: Par. 29, p. 8 “…Mexican States

have concurrent and limited jurisdiction over some natural resources …”). Ignoring the

Mexican Constitution, the States’ Constitutions, recent pronouncements from the

Mexican Supreme Court, and a vast body of state statutory and regulatory law, Defendant

experts attempt to characterize the “federal” role as dominating and primary. (E.g.,

Lopez: p. 5, 6). Crucially, even by Defendant own reports, the States’ jurisdiction over

coastal areas and wildlife is not extinguished. As Halliburton’s Lopez admits, it does

exist, even though he attempts to diminish its scope. It is evident that Defendant experts

opinions are fatally flawed, unreliable, and misstatements of the applicable law.

       In fact, Plaintiffs’ proprietary interests are much more extensive than Defendant

admit. (E.g., Ex. B, C, H, K, L, R, S). Plaintiff states do own, manage, possess, control,

govern, regulate, and otherwise exercise dominion over the areas in question and that the

states have the right, duty, and obligation to maintain, repair, restore, and preserve the

beach areas and wildlife along the coasts. (Id). As an example, Tamaulipas has the

authority and power to permit development of its coast lines and dredging of its beaches

and seabed adjoining its coastline, and it approved same. (E.g., Ex. H). Additionally, the

States do have proprietary interests as demonstrated by the authority and rights they have

exercised. (Ex. R, S). Defendant has not presented any “facts” that would dispute the

foregoing and, therefore, the facts in Ex. R and S are undisputed.

       IV.     a)     State Proprietary Interest Under Mexican Constitutional Law.




	                                                                                     11	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 12 of 27



                  BP, Transocean, Halliburton and Cameron, all contest the fact that the Mexican

States have a proprietary interests in lands, waters, natural resources and wildlife.

However, they have not presented any “facts” to dispute those presented by Plaintiffs and

rely on erroneous “legal” arguments. The pivotal underpinning of Defendant argument is

that the federal government “owns” certain properties and that “ownership” can never be

conveyed to others. That argument is quickly eviscerated and rendered implausible by

even a cursory reading of Article 27 of the Mexican Constitution. (Pls’ Ex. “A”). The

first paragraph of Article 27 provides in clear language: “Ownership of lands and waters

within the boundaries of national land territory is vested originally in the Nation, which

has had and has, the right to transmit title thereof to private persons, thereby

constituting private property. (emphasis added) (pg. 64, 65 of Exhibit “A”).1

                  The foregoing language clearly establishes not only that “title” of lands and

 waters can be conveyed to private persons, but also that such conveyance will result in

 the creation of “private property” interests in the recipient.                                                                                                                     By ignoring this

 constitutional language, Defendant reach the patently false conclusion that the Mexican

 Federal Government is the owner of all the land, seas and territory at all times and

 forever. (Id.). Defendant argument also ignores the undisputed facts presented by

 Plaintiffs that establish that beach property and other coastal lands are sold by the

 government to private individuals who then have the rights to sell them to others who

 also have the right to resell the property to others. (Ex. H and B). These are sales for

 money, and none of the sales proceeds are turned over to the federal government. (Id.)

 Defendant further ignores the undisputed facts that the federal government has

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
           The translated version of the Constitution (Exhibit A) attached to the State’s Motion for
Summary Judgment is a pure translation authored by the Mexican Supreme Court.

	                                                                                                                                                                                                                        12	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 13 of 27



 transferred the rights and obligations of ownership to the Plaintiff states through

 numerous concessions and decrees. (See Plaintiff’s Statement of Facts pp.8-19, 25-29,

 30-34). As a matter of fact, Tamaulipas, Veracruz, and Quintana Roo have the right to

 use, enjoy, and tax coastal areas (beaches, federal maritime-land zones, and land

 reclaimed from the sea) extending along broad swaths of their respective Gulf Coasts.

 (Ex. B, pp. 206, 214, 218). Defendant arguments, therefore, are both legally and factually

 insupportable.

        Defendant also wrongly applies and misinterprets the concept of the “Nation.”

 They erroneously conclude that the term “Mexican Nation” is synonymous with “the

 Mexican Federal Government.” (See Halliburton’s Lopez report, Ex. 11,Par. 4.3).

 Ignoring more recent judicial pronouncements by the Mexican Supreme Court, Lopez

 relies on a non-binding, isolated opinion of the 2d chamber of the Mexican Supreme

 Court issued in 1937. Under Mexican law, an opinion by the Mexican Supreme Court is

 not binding and does not constitute precedent unless the holding is repeated in at least

 five subsequent opinions.(Ex. “P” pg. 1). This has not occurred with respect to Lopez’

 “authority” and, therefore, the case relied upon has no precedential value. (Id.). Mr.

 Lopez’ error can be understood when one notes his resume reveals he is not a lawyer

 licensed in Mexico or a practitioner in that country. Stated simply, he is a Texas lawyer

 attempting to interpret Mexican Law, a task which he did not perform accurately to any

 extent in this case. (See, Ex. “P”). Recent binding precedents from the Mexican Supreme

 Court (Ex. P, N, O), recognize that the States of Mexico (Plaintiffs) have jurisdictional

 autonomy and powers, as do the Federal and Local Governments:

        CONTITUTIONAL CONTROVERSY. THE SEVERAL LEGAL ORDERS
        SET FORTH IN THE FEDERAL CONSTITUTION HAVE FUNCTIONAL



	                                                                                      13	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 14 of 27



       AUTONOMY AND JURISDICTIONAL ATTRIBUTES OF THEIR OWN.
       … there can be identified four legal orders in the Mexican System, namely:
       the federal, the local or state, the one of the Federal District and the
       Constitutional. Each one has attributes of their own that, generally speaking, are
       non-inclusive among them, having autonomy for the enforcement belonging to
       each one of the appropriate agencies. Exhibit “N” and “P”, Constitutional
       Controversy 31/97. City Counsel of Temixco, Morelos. August 9, 1999. Eight
       Vote Majority. Register No. 193 262 (j); 9th Era Plenary, Gazette, Volume X
       September 1999, Page 709).

       MEXICAN STATE, LEGAL ORDERS WITHIN. … we found that there are
       five legal orders in the Mexican State, namely: the federal, the local or state,
       the municipal, the one for the Federal District and the Constitutional.
       (Exhibit “O” and “P”, Constitutional Controversy 14/2001. Municipality of
       Pachuca de Soto, Hidalgo. July 7, 2005. Ten Vote Unanimous Majority.
       Register No. 177 006 (j); 9th Era Plenary, JFW Gazette, Volume XXII, October
       2005, Page 2062).

       The legal and factual reality is that the Mexican States have exercised

dominion, ownership, governance, policing, taxing, administration, possession,

management, regulation, enforcement, development, and control over its coastal

lands, while repairing and maintaining them at their own expense, thus demonstrating

their ownership of their geographical areas and territories. (E.g., Ex. R, S, B).

Article 42 of the Mexican Constitution provides: “The National territory shall be

integrated by: I.- The Federations integrant portions;” (Ex. “A” pg.50). Article 43

defines the integrant portions: The Federations’ integrant portions are States as

follows: ..Quintana Roo, Tamaulipas and Veracruz. (See Exhibit “A” pg.51).

Therefore, the Mexican States are among the holders of the original domain that Article

27 of the Mexican Constitution assigns to the “Mexican Nation.” (See Ex. “B” p. 3.)

“Nation” is simply then a collective description of the components that integrate the

Mexican System, and the States are clearly one of those components. Therefore, when

the Constitution speaks in terms of the “Nation” having rights or ownership, it is




	                                                                                    14	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 15 of 27



declaring that the States as a component of the “nation” have those same rights, interests,

and ownership. (See Ex. “N” “O” and “P.”).

       b)      Mexican States Legislate Environmental Proprietary Interests.

       Defendant fail to mention that pursuant to the Mexican Constitution and their own

constitutions, the Mexican States can enact and have enacted state legislation aimed at

protecting their environment and proprietary interests: Under Article 124 of the Mexican

Constitution, “All powers not explicitly vested by this Constitution on federal authorities,

are reserved to the States.” (Ex. “A” p. 347 and Ex. L.) The Mexican Constitution does

not prohibit the States from enacting legislation to protect their environment, i.e., their

coastal areas such as beaches. The only constitutional prohibitions are contained in

Article 117 of the Mexican Constitution which prohibits State legislatures from

legislating only in the following matters: Currency. (Ex. “A” p. 293, Transit of people

and merchandise across its territory See Ex. “A” p. 293, Foreign trade See Ex. “A” p.

293, Taxes regarding merchandises origin that could affect other Federal taxes See Ex.

“A” p.293. Clearly absent, is any prohibition against environmental legislation.

       In fact, the Mexican Constitution expressly provides for the States’ concurrent

powers with respect to the protection and preservation of the environment and ecological

matters. Thus, Article 73 of the Mexican Constitution provides: “The Congress shall have

the powers to: XXIX-G To enact laws establishing the concurrence of the Federal

Government, the States and the municipalities, within their respective jurisdictions, on

matters concerning environmental protection and preservation and restoration of

ecological balance.” (Exhibit “A’ pp. 38, 401). Therefore, in addition to the powers

conferred by Article 27, 40, 41 and 43 giving the States Proprietary rights in the waters,




	                                                                                       15	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 16 of 27



shores, natural resources, wildlife, etc., the States of Quintana Roo, Tamaulipas and

Veracruz, based on Article 124, 117 and 73 XXIX-G, can enact their own environmental

legislation to defend, protect, exploit, use and regulate their shores, coastline and all

proprietary interests within their territory.


                                                      c)                                                     Federal Statutes Grant States Exclusive Control of Environmental

                                                      Emergencies.


                                                      In addition to constitutional authority to act in matters involving the environment,

the States have additional authority to do so which is derived from a federal statute.


         Article 7 of the current text in the General Law of Ecological Balance and
Environmental Protection (dated June 4th, 2012), confers to the States the following
rights, obligations, and powers to legislate in the following areas: XI.- Dealing with
matters which affect the ecological balance or the environment of two or more
Municipalities; XII.- Participation in environmental emergencies and contingencies,
pursuant to the civil defense policies and programs which are provided therefore;
XIV.- The management of state information policy and information on environmental
subject matters.2
                           The States of Quintana Roo, Tamaulipas and Veracruz (due to their geographical

proximity and direct and preponderant interest in the preservation of their environment)

have the obligation and right to immediately intervene to preserve and protect their

environments—and they did so. (Ex. “R” and “S”). As another example of the States’

legislative power in the field of environmental protection, Plaintiffs note the Code for

Sustainable Development for the State of Tamaulipas which sets out the following

responsibilities of the State:


    Article 7. It is considered to be of public interest: VI. The execution of any works
intended for the environmental prevention, conservation and protection, as well as the

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2
  Chamber of Deputies. General Law of Ecological Balance and Environmental Protection, June 4th, 2012.
http://www.diputados.gob.mx/LeyesBiblio/pdf/148.pdf


	                                                                                                                                                                                                                                 16	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 17 of 27



reparation of polluted sites when such reparations are necessary in order to reduce any
health risks; (emphasis added). Article 8. It is considered as social interest: V.
Regarding pollution, any emergency measures which authorities should take in case
of acts of God or force majeure; and VI. Emergency actions in order to contain
health risks caused by any kind of pollution. Article 44.Imposes on the State, through
the Environmental Agency, the following duties: XXXIII. Execute any security and
corrective measures, as well as administrative sanctions that may be appropriate, due to
violations in this Code; Article 120: The State Executive, through the Environmental
Agency, shall have the following faculties: XXV. Impose any sanctions and security
measures that may be appropriate according to the applicable regulation and the
provisions set forth in the agreements signed with the Federation and with the
Municipalities, pursuant to the provisions set forth herein; (See Exhibit “Q”).


       Under the Environmental Codes of Tamaulipas, Quintana Roo and Veracruz and their

inherent powers under their respective State Constitutions, the States’ Governors are

authorized to take any measures to protect and defend the environment such as

monitoring the Macondo oil spill, as well as cleaning up and restoring beaches. (Ex. R, S,

and Ex. B p.234).

          d)      Mexican States Have Proprietary Interest in Wildlife.

          Contrary to Defendant contentions, the states do have a proprietary interest in

their wildlife.

        Article 7 of the General Statute on Wildlife, provides for concurrency on all
matters pertaining to wildlife among the Municipalities, State, Federal District, and
Federal governments. According to the concurrency authority and obligations, the three
levels of government [which include the States] must: I. Guarantee that the actions of the
different levels of government are united in purposes and congruent regarding the
execution of national policy regulations in wildlife matters; III. Recognize duties to the
State and Federal District´s Governments, to be executed within the limits of its territory,
regarding the execution and compliance or the national policy regulations in wildlife and
habitat matter; IV. Specify the duties that must be executed exclusively by the State
powers of the Federated Entities and to the Federation on the matter of Wildlife. See (Ex.
“T” General Law of Wildlife).

          e)      The States’ Constitutions Further Establish The Proprietary Interests
                  of Quintana Roo, Tamaulipas and Veracruz




	                                                                                       17	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 18 of 27



          Under Article 2 of the Constitution of the State of Tamaulipas, “The territory of

the State includes the historical Province called New Santander, with the limitations

made by the Treaty of Guadalupe Hidalgo.” (Ex. D). As a matter of historical fact,

Tamaulipas, has governed, defended and policed the interior maritime waters, the coasts,

and the adjacent seas and islands of Tamaulipas. (see, p. 19, Statement of Facts for list of

islands). Under Article 3 the Constitution of the State of Veracruz, “The territory of the

State has the extension and limits that it possessed historically, including the capes,

islands, islets adjacent to its seashore in conformity with that set forth by the Federal

Constitution and the law.” (Ex. D). As a matter of fact, the State of Veracruz, has

governed, and historically defended and policed the interior maritime waters, the coasts

and the adjacent seas, islands and islets of Veracruz. (See p. 20 of Statement of Facts for

list of islands). Under Article 46 of the Constitution of the State of Quintana Roo, “The

territory of the State of Quintana Roo includes all Islands. As a matter of fact, the State of

Quintana Roo, has governed and still governs, defends and polices the interior maritime

waters, the coasts and the adjacent seas, keys, reefs, islands and islets of Quintana Roo.

(See p. 21 of Statement of Facts for list of islands).

       f) The States Have the Power and Authority to Bring Suit.

          Plaintiffs submit that the issue of whether the Plaintiff States have the authority to

bring suit is a “red herring.” At best it is a political issue to be resolved among the

various entities (and people) of Mexico and one in which this United States federal court

should not interject itself. In other words, it is a matter that should be determined

politically in Mexico. Certainly, these lawsuits are public information and the federal




	                                                                                           18	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 19 of 27



government is aware of their existence because the States and the Federal Government

have joint “Deepwater Horizon” scientific workgroups and shared science.

          At the outset, it is important to note that the Plaintiff States, like other Mexican

states, are “free and sovereign” entities that retain every right and power that they have

not explicitly given up to the federal government because they have suffered their own

particular damages and have spent their own resources remediating the spill impact on

their shores. (Ex. “R” and “S”). The States have not given up any right to bring suit to

protect their interests, quite to the contrary the States decided as early as June 8, 2010 to

bring suit against Defendant due to the Environmental Consequences of the spill. (Ex.

W). Moreover, The Governors’ authority to represent their respective States may be

found in Article 91, section XXIII of the Constitution of the State of Tamaulipas, in

correlation with Article 4 of the Constitution of the State of Tamaulipas and Article 115

first paragraph of the Mexican Constitution; Article 49, sections XVIII & XXIII of the

Constitution of the State of Veracruz in correlation with Article 115 first paragraph of the

Mexican Constitution; and Article 90, sections XIII & XVIII of the Constitution of the

State of Quintana Roo, in correlation with Article 4 of the Constitution of the State of

Tamaulipas and Article 115 first paragraph of the Mexican Constitution. (Ex. “D”).

       g) The States are the Original Owners of Their Islands and Territory

          The Islands of the State of Quintana Roo belong to Quintana Roo according to its

own State Constitution, as described above and as more described in the Statement of

Fact Paragraph 20. Id. The islands of Tamaulipas and Veracruz were part of their

territory before 1857 therefore before the constitution of 1917, and thus, do not constitute

part of the Federation as provided in Article 48 of the Mexican Constitution since




	                                                                                         19	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 20 of 27



Tamaulipas and Veracruz claim their ownership. (Ex “A” and Ex. “P” p.5). Moreover,

the Mexican Supreme Court has confirmed the States’ ownership of States have

ownership of the islands. (Ex. P).

THE	  PLAINTIFFS’	  PROPRIETARY	  INTERESTS	  UNDER	  MARITIME	  LAW.	  

1.      Federal Maritime Law: There is No Requirement of Ownership.

        As demonstrated above, Plaintiffs own the coastlines, beaches, estuaries, coastal

areas, wildlife, flora, fauna, and other features along their Gulf Coasts. Moreover, they

control, govern, administer, and possess these areas and are responsible for maintaining,

restoring, governing, managing, and maintaining and repairing them at their own

expense. (E.g., Ex. R, S, H).

        Ignoring well-established precedent, Defendant misstates the law through their

erroneous argument that “title” or ownership is necessary to establish a proprietary

interest. Defendant fails to note that numerous courts have specifically held that actual

title, or ownership of record, is not required if there is an actual proprietary interest. E.g.,

New Orleans Steamboat Co. v. M/V James E. Wright, 1990 U.S. Dist. LEXIS 11447 *25

(E.D. La. Aug. 23, 1990)(“Dock lessors may properly be considered ‘owners’ in certain

circumstances.”); McLean Contracting Co. v. Waterman Steamship Corp., 131 F. Supp.

2d 817, 821 (E.D. Va. 2001); MTA Metro-North R.R. v. Buchanan Marine, L.P., 2006

U.S. Dist. LEXIS 89617 *18 (D. Conn. 2006)(“Actual ownership or title is not necessary

to demonstrate that a proprietary interest exists.”); In re Moran Enterprises Corp., 77 F.

Supp.2d 334, 341 (E.D. N.Y. 1999)(“In order to have a proprietary interest actual

ownership or title is not necessary.”).




	                                                                                           20	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 21 of 27



       Instead of requiring ownership, courts have consistently held that a proprietary

interest may be established by demonstrating “actual possession or control, responsibility

for repair, and responsibility for maintenance.” Texas Eastern Transp. Corp. v. McMoran

Offshore Exploration Co., 877 F. 2d 1214, 1224-5 (5th Cir. 1989); McLean Contracting

Co. v. Waterman Steamship Corp., 131 F. Supp. at 821 (proprietary interest existed

where owner’s contract gave contractor “charge and care” of bridge repair project and

required repairs until job accepted by owner); see Louisville & Nashville R.R. Co. v. M/V

Bayou Lacomb, 597 F. 2d 469, 473-74 (5th Cir. 1979). “Put differently, if [a plaintiff]

shows that it has interests in the [property] similar to the interests it would acquire in a

vessel from a demise charterer or in real estate from a lease, then it can satisfy the

requirements of Robins Dry Dock.” Nexen v Petroleum U.S.A., Inc. v. Sea Mar Div. of

Pool Well Serv. Co., 497 F. Supp. 2d 787, 796 (E.D. La. 2007)(citing Louisville &

Nashville R.R. Co., 597 F. 2d at 473-74).

       The absence of any ownership requirement is also evident from the Supreme

Court’s decision articulating the principle in the first place. Thus, Robins Dry Dock &

Repair Co. v. Flint, 275 U.S. 303, 308 (1927) considered that a demise charter would

create the necessary proprietary interest. A demise charter is simply a lease: “Under a

demise (or “bareboat”) charter, there is but a hiring of the vessel, under which no title

passes to the charterer but merely the right to possess and control it for a limited period.”

(emphasis added) Black’s Legal Dictionary, 431 (1990). To “charter” means “to hire, rent

or lease for a temporary use; e.g., to hire or lease a vessel for a voyage.” Id. at 235.

       Subsequent decisions have consistently held that such a demise charter does

create the necessary proprietary interest, even though such a charter is for a limited time




	                                                                                         21	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 22 of 27



and does not transfer ownership. E.g., Louisville & Nashville R.R. Co. v. M/V Bayou

Lacombe, 597 F.2d at 472 n. 3 (lessor of house is analogous to a demise charterer); Nexen

Petroleum U.S.A., Inc., 497 F. Supp. 2d at 796 (“[I]f [a plaintiff] shows that it has

interests in the [property] similar to the interests it would acquire in a vessel from a

demise charterer or in real estate from a lease, then it can satisfy the requirements of

Robins Dry Dock.”). Under a demise charter, the charterer, of course, does not own the

vessel. There is no transfer of title that is operative under such a charter. The owner of the

vessel remains the owner throughout the charter and afterward. Moreover, the charter

lasts only as long as the term of the charter and upon its expiration, possession and

control revert to the owner. In essence, the demise charter is a lease. See, Nexen

Petroleum U.S.A., Inc., 497 F. Supp. 2d at 796. Accordingly, any argument by Defendant

based on the absence of “title” or the possibility of a reversion would be inapposite,

especially since during the period of any concession or decree, the Mexican States would

have the unquestionable right and authority to control, possess, develop, manage, exploit,

govern, protect, and repair and maintain at their own expense. Moreover, Defendant has

presented no evidence that any concessions issued by the federal government have ever

been revoked. In fact, rights secured under concessions and decrees can be sold and

resold without any approval from the federal government and the sales proceeds are kept

by the seller. (Ex. H). Truly, the nature of the concessions and decrees permitting sale for

profit are equal to ownership or a proprietary interest under any definition.

       Numerous other decisions demonstrate the erroneous character of Defendant

positions that title is necessary to hold a proprietary interest. In Domar Ocean Trans.,

Ltd. v. M/V Andrew Martin, 754 F. 2d. 616 (5th Cir. 1985)(owner of damaged barge who




	                                                                                         22	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 23 of 27



had lease on undamaged tug could recover economic damages for the loss of the use of

the tug); Louisville & Nashville R.R. Co., 597 F.2d at 472 n. 3 (finding a lessee of a house

and lot to be “analogous” to a demise charterer); In re TT Boat Corp., 1999 U.S. Dist.

LEXIS 13797 (E.D. La. Sept. 3, 1999)(working interests in oil platform created by lease

with the U.S. government were “owners” of platform since they shared in construction

costs, possessed right to inspect it, and possessed right to sell it and share in proceeds);

MTA Metro-North R.R. v. Buchanan Marine, L.P., 2006 U.S. Dist. LEXIS 89617 at *20-

21.; New Orleans Steamboat Co. v. M/V James E. Wright, 1990 U.S. Dist. LEXIS 11447

*25 (E.D. La. Aug. 23, 1990)(citing Holt Hauling & Warehousing v. M/V Ming Joy, 614

F. Supp. 890, 899 (D.C. Pa. 1985)). Even time charterers have a direct proprietary

interest in physical property added to the leased vessel when the property will be

reclaimed. Nicor Supply Ships Assoc. v. General Motors Corp., 876 F.2d 501, 506 (5th

Cir. 1989). Thus, all development, improvements, and other exploitation of the beaches

and coastal areas create proprietary interests. The necessary proprietary interest can also

be established by agreements between an owner and a user of property. In re Moran

Enterprises Corp., 77 F. Supp.2d 334, 341 (E.D. N.Y. 1999)(utility company that did not

own damaged submarine cables created fact issue where under agreement with owner, it

had paid for a pro rata share of the construction and was responsible for its share of the

repair expenses and jointly and severally liable for any environmental harm caused by the

cables). Other arrangements have been found to create proprietary interests despite the

absence of ownership. McLean Contracting Co. v. Waterman Steamship Corp., 131 F.

Supp. 2d 817 (E.D. Va. 2001)(contractor who did not own bridge had proprietary interest

in repair project since the construction contract with the state provided that the contractor




	                                                                                        23	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 24 of 27



would have “charge and care” of the project and required the contractor to rebuild, repair,

and restore any damages to the work until it was accepted by the state); MTA Metro-

North R.R. v. Buchanan Marine, L.P., 2006 U.S. Dist. LEXIS 89617 at *20-21 (non-

owner who is a “primary user” of a property and performs some day-to-day operations

and performs repairs and maintenance has proprietary interest); Holt Hauling &

Warehousing Systems, Inc. 614 F. Supp. at 898(“It would serve no purpose to limit

recovery to those who, under state property law, ‘owned’ the facility in question.”); New

Orleans Steamboat Co. v. M/V James E. Wright, 1990 U.S. Dist. LEXIS 11447 *25 (E.D.

La. Aug. 23, 1990)(Performance of routine maintenance, payment of utility bills, and

lack of use by the record owner are factors to be considered in determining whether a

lessor has a proprietary interest); Holt Hauling & Warehousing, 614 F. Supp. at 899

(lessee of a pier could establish a proprietary interest since he did not merely use the pier,

but was the primary user of the pier and also purchased liability insurance on it,

performed routine maintenance, and paid for all utilities.). Thus, a steamboat company

leasing a dock owned by the Board of Commissioners of the Port of New Orleans had a

sufficient proprietary interest where the lease not only allowed the steamboat company to

use the dock for its excursions, but also required the company to repair damages to the

wharf and maintain it. New Orleans Steamboat Co., 1990 U.S. Dist. LEXIS 11447.

Furthermore, a proprietary interest exists where the plaintiff has an “insurable interest” in

the damaged property even though the property is owned by another. McLean

Contracting Co., 131 F. Supp. 2d at 821 (insurable interest in work in progress on non-

owned bridge); see Vicksburg Towing Co. v. Mississippi Marine Trans. Co., 609 F. 2d

176, 177 (5th Cir. 1980)(insurable interest element in determining existence of proprietary




	                                                                                         24	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 25 of 27



interest); In re Moran Enterprises Corp., 77 F. Supp.2d at 341 (E.D. N.Y. 1999)(fact

issue created by non-owner’s joint maintenance of insurance policy). It is undisputed that

the Mexican States can erect buildings and structures on the coastal lands and otherwise

develop and exploit these territories, thereby creating insurable interests. Defendant

experts further concede that among Plaintiffs’ rights is the right to use the assets. The

“right of use” is itself “a thing of value.” Vicksburg Towing Co., 609 F. 2d. at 177; New

Orleans Steamboat Co., 1990 U.S. Dist. LEXIS 1147 at *25; SEKCO Energy, Inc. v. M/V

Margaret Chouest, 820 F. Supp.1008, 1012 (E.D. La. 1993). This is especially true since

the Plaintiff States not only have the right to use the areas, but also to commercially

exploit, manage, control, develop, regulate, possess, and the attendant responsibilities of

paying for their maintenance and reparations. Moreover, the right to exploit (explore for

and produce minerals) pursuant to an exploration lease is sufficient to create a proprietary

interest. Nexen v Petroleum U.S.A., Inc., 497 F. Supp. 2d at 796.

       The rights, authority, and responsibilities that the Mexican States possess, even

according to Defendant experts, go far beyond those of a demise charterer or a lessor of

property, which courts agree constitute a proprietary interest. E.g., Louisville & Nashville

R.R. Co., 597 F.2d at n. 3 (5th Cir. 1979)(holding lessor of a house is analogous to a

demise charterer); Nexen Petroleum U.S.A., Inc., 497 F. Supp. 2d at 796 (interests in

property similar to those of a demise charterer or in real estate from a lease satisfy the

requirements of Robins Dry Dock.”); New Orleans Steamboat Co., 1990 U.S. Dist.

LEXIS 1147 at *25 (lessor of dock had proprietary interest). Here, as BP’s expert

concedes, the Mexican States are in charge of managing, governing, regulating, directing,

and determining how and when to exploit the assets, e.g., commercial development,




	                                                                                       25	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 26 of 27



physical alterations, mineral exploitation, etc. Here, the undisputed facts demonstrate that

the Mexican States have even greater rights than lessors or demise charterers since they

undisputedly also have the authority, right, and power to excavate and physically alter the

beaches and coastal waters in their exploitation of same. (Ex. H—GTT Declaration).

Clearly, the Mexican States “own” the geographical areas at issue. (Ex. B, I, C, L).

Regardless of any contention that they are not “owners,” it is clear that the Mexican

States can do whatever an owner could do with respect to the natural resources at issue.

Accordingly, Defendant is not entitled to summary judgment since the undisputed facts

and the applicable law establishes that the Plaintiffs have proprietary interests in the areas

in question. In view of the foregoing applicable principles and the undisputed facts

herein, the Mexican States have established that they have proprietary interests under

both Mexican law and the principles applicable under federal maritime law.

       WHEREORE PREMISES CONSIDERED, Plaintiffs’ respectfully request that

this Court DENY Defendant’s Motion for Summary Judgment.

                                                      Respectfully Submitted,

                                                      DATED: January 25, 2013


                                                      SERNA & ASSOCIATES PLLC

                                                      By:

                                                      /s/ Enrique G. Serna
                                                      Enrique G. Serna, Esq.
                                                      SBOT 00789617
                                                      20985 IH 10 West
                                                      Serna Building
                                                      San Antonio, Texas 78257
                                                      (210) 2280095 – Telephone
                                                      (210) 2280839 – Facsimile
	  


	                                                                                         26	  
Case 2:10-md-02179-CJB-JCW Document 8366 Filed 01/25/13 Page 27 of 27




                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, pursuant to Judge Shushan’s Order of September 11, 2012, I

have caused the foregoing to be served on all counsel via the Lexis Nexis File & Serve

system, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF

system, who will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on January 25th, 2013


                                                  /s/ Enrique G. Serna
                                                  Enrique G. Serna


	  




	                                                                                 27	  
